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UNITED STATES DISTRICT COURT
FOR THE SOUTI-IERN DISTRICT OF TEXAS

 

HOUSTON DIVISION

)

PEOPLE FOR THE ETHICAL TREATMENT ) _ _ _ _

OF ANIMALS’ INC_’ § C1vil Action No. 4.18~cv-01547

. . )

Plamtlff’ ) I-Ion. Judge Hughes
v. g
MICHAEL K. YOUNG, in his official capacity §
as President of Texas A&M University, )
)
Defendant. §
)

 

_I:LAINTIFF’S PROPOSED DISCOVERY PLAN

Plaintiff, by its counsel, pursuant to the Federal Rules of Civil Procedure, the Local Rules
of the U.S. Court for the Southern District of Texas, this Court’s instructions at the appearance on
September 10, 2018, and this Court’s Management Order of September lO, 2018, respecthilly
submits this proposed discovery plan.

l. Plaintiff respectfully seeks leave to serve the interrogatories attached hereto as
Exhibit A, and the document requests attached hereto as Exhibit B. These discovery requests focus
on the two principal factual issues in this case: first, the forum status of the interactive spaces
(comrnents and visitor posts) in Texas A&M’s Facebook page; and second, Whether Texas A&M
has engaged in content or viewpoint discrimination against PETA by means of automatic filtering
and manual removal of PETA content from A&M’s Facebook page.

2. After defendant responds to these requests, plaintiff may wish to take additional

focused discovery. This Will depend in large part on how defendant responds to these requests,

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what discovery defendant seeks from plaintiff`, and whether the parties are able to agree to
stipulations or supplemental declarations The additional focused discovery that plaintiff may wish
to take may include a Rule 30(b)(6) deposition, another one or two depositions of A&M Witnesses,
follow-up interrogatories and document requests, and requests for admissionl

3. Attached hereto as Exhibit C is plaintiff"s identification of three PETA employees
who are most knowledgeable about the facts of this case.

4. Plaintiff moves this Court to rule admissible the Facebook statements on
Facebook’s webpage about how Facebook works, as evidence of how Facebook works. These
statements fall Within the “residual” hearsay exceptions of Federal Rule of Evidence 807.

a. By Way of example, Facebook’s Webpage includes a I-Ielp Center that
explains how Facebook Works. See https://Www.facebook.comfhelD/.

b. These Facebook statements have “equivalent circumstantial guarantees of
trustworthiness.” See FRE 807(1). Specifically, they are Facebook’s public-facing explanation of
how its site works.

c. These Facebook statements are “offered as evidence of a material fact.” See
FRE 807(2). Specifically, plaintiff seeks to offer them as evidence of how Facebook Works.

d. These Facebook statements are “more probative on the point for which
[they] are offered [that is, how Facebook Works] than any other evidence that the proponent can
obtain through reasonable efforts.” See FRE 807(3). Altemative methods of proving how
Facebook works include (i) third-party discovery to Facebook, and (ii) testimony of an expert on
how Facebook works. These alternative methods would not be “more probative” regarding how
Facebook works, compared to Facebook’s public-facing explanations of how Facebook Works.

And use of these alternative methods would consume much more of the time and resources of the

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parties and this Court, as Well as the time and resources of Facebook or an expert witness,
compared to relying on Facebook’s public-facing statements

e. Admission of these Facebook statements “will best serve the purpose of
these rules and the interests of`justice.” See FRE 807(4). As explained, admission of Facebook’s
own published statements of how Facebook works is an economical and accurate way to prove
how Facebook works.

f. Plaintiff seeks a ruling now on this admissibility issue, because if these
Facebook statements are not admissible to prove how Facebook works, then plaintiff will need to
promptly seek alternative methods to prove this, and both parties may wish to explore such
alternative methods during discovery.

g. To be clear, plaintiff is not now seeking a finding of fact on how Facebook
works, or a ruling that Facebook’s public-facing statements are the best evidence of how Facebook
Works, or that other evidence of how Facebook works is not admissible Rather, plaintiff only seeks
a ruling that these Facebook statements are admissible

h. Defendant does not oppose this requested admissibility ruling.

Conclusion
For the reasons above, plaintiff moves this Court:
(1) to authorize plaintiff to serve on defendant the interrogatories and document
requests attached hereto as Exhibits A and B;
(2) to authorize plaintiff to take the additional focused discovery set forth above in
paragraph 2; and
(3) to rule that Facebook statements on Facebook’s webpage about how Facebook

works are admissible to prove how Facebook works.

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DATED: September 28, 2018

/s/David Greene

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CERTIFICATE OF SERVICE

 

I hereby certify that a true copy of the above document was sent via electronic delivery to
counsel of record in the case on September 28, 2018.

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/s/David Greene

David Greene

